              Case 2:18-cv-00681-RAJ Document 17 Filed 07/02/18 Page 1 of 16




 1                                                        THE HONORABLE RICHARD A. JONES
 2

 3

 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6

 7   KURT SKAU, on behalf of himself and on
     behalf of others similarly situated,                   No. 2:18-CV-00681-RAJ
 8
                                Plaintiff,                  DEFENDANT JBS CARRIERS,
 9                                                          INC.’S OPPOSITION TO
              v.                                            PLAINTIFF’S MOTION TO
10                                                          REMAND
     JBS CARRIERS, INC., a Delaware corporation,
11                                                          [NOTE ON MOTION
                                Defendant.                  CALENDAR: July 6, 2018]
12

13

14                                           INTRODUCTION
15            The majority of issues relating to this Court’s jurisdiction under 28 U.S.C. §§ 1446,

16   1332 are not in dispute. The parties agree there is complete diversity between Plaintiff and JBS

17   Carriers, Inc. (“JBS”), and the parties agree that the total amount of Plaintiff’s alleged unpaid

18   wages, including double damages, is $53,648.66.1 The parties also agree that some portion of

19   the $49,707.52 in attorneys’ fees Plaintiff has already incurred must be included when

20   determining the amount in controversy.

21            Where the parties diverge, however, is with regard to the scope and application of the

22   Ninth Circuit’s decisions in Chavez v. JPMorgan Chase & Co., 888 F.3d 413 (9th Cir. 2018),

23   and whether attorneys’ fees incurred after removal may properly be considered when

24   determining the amount in controversy. In the Motion to Remand (“Motion”), Plaintiff argues

25   1
       As in the Notice, Defendant assumes Plaintiff would be entitled to the damages, including
     reasonable attorney’s fees, calculated herein without admitting any liability or waiving its right
26   to ultimately contest the amount of wages due, if any, should Plaintiff prevail with respect to
     any of his claims.
27
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 1
     (Case No. 2:18-CV-00681-RAJ )                                              Davis Wright Tremaine LLP
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 1   that Chavez did not address whether all attorneys’ fees accrued during the course of a case may

 2   be considered as part of the amount in controversy. Motion, pp. 10-16,2 Dkt. 13. Plaintiff

 3   misreads Chavez.

 4            In Chavez, the Ninth Circuit held “that the amount in controversy is not limited to

 5   damages incurred prior to notice of removal,” but that it “encompasses all relief a court may

 6   grant on [the] complaint if the plaintiff is victorious.” 888 F.3d at 414-15 (emphasis added).

 7   “All relief [the] court may grant on [the] complaint if plaintiff is victorious” here includes

 8   attorneys’ fees incurred by Plaintiff’s counsel after the date in which JBS filed the Second

 9   Notice of Removal. Every court to consider this issue following Chavez has similarly

10   interpreted Chavez’s holding to include post-removal attorneys’ fees in the amount in

11   controversy calculation. See Bernstein v. BMW of N. Am., LLC, No. 18-CV-01801-JSC, 2018

12   WL 2210683, at *2 fn. 3 (N.D. Cal. May 15, 2018); Lucas v. Michael Kors (USA), Inc., No. 18-

13   cv-1608-MWF, 2018 WL 2146403, at *11 (C.D. Cal. May 9, 2018). As discussed in more

14   detail below, including all attorneys’ fees that may be incurred during the course of litigating

15   this case pursuant to Chavez puts the amount in controversy over the jurisdictional minimum.

16   The Court should deny Plaintiff’s Motion.

17                           FACTUAL AND PROCEDURAL HISTORY

18            On September 5, 2017, Plaintiff Kurt Skau commenced a civil action in King County

19   Superior Court against JBS. On October 5, 2017, JBS filed a Notice of Removal pursuant to 28

20   U.S.C. § 1332 and 28 U.S.C. § 1446(b)(1) (“First Removal”). On November 30, 2017, Judge

21   Coughenour granted Plaintiff’s Motion to Remand, holding that “an estimate of future attorney

22   fees [may not] be used to satisfy the amount in controversy requirement.” Skau v. JBS Carriers,

23   Inc., 2:17-cv-014990JCC (Nov. 30, 2017), p. 4, Dkt. 21. Because Plaintiff had incurred

24   $14,085 in attorneys’ fees at the time of JBS’ First Removal, Judge Coughenour found the

25   amount in controversy was $7,266.34 short of the jurisdictional threshold. Id.

26   2
       For purposes of this Response, JBS cites to the page numbers stamped on the top margin by
     the EM/ECF filing system.
27
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 2
     (Case No. 2:18-CV-00681-RAJ )                                             Davis Wright Tremaine LLP
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 1            At the time of Judge Coughenour’s Order, the Ninth Circuit had not spoken on the issue

 2   of whether all attorneys’ fees that will be incurred during the course of a case should be

 3   considered when determining the amount in controversy. Following Judge Coughenour’s

 4   Order, on April 20, 2018, the Ninth Circuit issued a decision in Chavez, which resolved this

 5   question in the affirmative. 888 F.3d at 416-17. In light of the Ninth Circuit’s decision in

 6   Chavez, on May 11, 2018, JBS filed a new Notice of Removal (“Second Removal”). Dkt. 1.

 7   The Second Removal is founded on the Ninth Circuit’s holding in Chavez that “all relief”

 8   claimed at the time of removal to which the Plaintiff, if he prevails, would be entitled

 9   regardless of the “mere futurity” of such relief, must be considered as part of the amount in

10   controversy when determining the Court’s jurisdiction. Here, that relief includes post-removal

11   attorneys’ fees. Thus, the Second Removal is based on new law in the Ninth Circuit regarding

12   the methodology for calculating the amount in controversy. On June 11, 2018, Plaintiff filed a

13   Motion to remand this case back to state court. Plaintiff’s Motion should be denied.

14                                             DISCUSSION

15   A.       Chavez Constitutes a Relevant Change of Circumstances Justifying A Successive
              Petition for Removal.
16

17            The parties agree that new case law properly constitutes a relevant change of

18   circumstance justifying a successive petition for removal. Motion, p. 10, Dkt. 13 (citing Reyes

19   v. Dollar Tree Stores, Inc., 781 F.3d 1185, 1188 (9th Cir. 2015) and Rea v. Michaels Stores

20   Inc., 742 F.3d 1234, 1238 (9th Cir. 2014)). Plaintiff, however, maintains that “Chavez does not

21   change the law; it has long been the law that future lost wages are damages that may be

22   included when calculating the amount in controversy” and “Chavez does not address future

23   attorneys’ fees.” Motion, p. 10, Dkt. 13. Plaintiff reads Chavez too narrowly.

24            i.     Chavez stands for the proposition that all relief Plaintiff could recover, including
                     post-removal attorneys’ fees, should be included in the amount in controversy
25                   calculation.
26            In Chavez, the Ninth Circuit considered whether the amount in controversy was

27   satisfied for diversity jurisdiction in a matter alleging disability discrimination and retaliation.
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 3
     (Case No. 2:18-CV-00681-RAJ )                                               Davis Wright Tremaine LLP
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 1   888 F.3d at 415. As the court noted, the purpose of the opinion was “to clarify what it means to

 2   say that the amount in controversy is determined as of ‘the time of removal.’” Id. at 414-15

 3   (citing Kroske v. U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005)). In so doing, the court

 4   broadly stated:

 5           We conclude that the amount in controversy is not limited to damages incurred
             prior to removal—for example, it is not limited to wages a plaintiff-employee
 6           would have earned before removal (as opposed to after removal). Rather, the
             amount in controversy is determined by the complaint operative at the time of
 7           removal and encompasses all relief a court may grant on that complaint if the
             plaintiff is victorious.
 8

 9   Id. at 414-15. The Ninth Circuit also directed trial courts to “consider damages that are claimed

10   at the time the case is removed” and it stated, “[t]hat the amount in controversy is assessed at

11   the time of removal does not mean that the mere futurity of certain classes of damages

12   precludes them from being part of the amount in controversy.” Id. at *417 (emphasis in

13   original). Thus, according to the Ninth Circuit, the operative issue is not whether the damages

14   have been incurred prior to removal, but the total extent of relief Plaintiff would recover if he is

15   victorious.

16            Plaintiff argues that the court’s consideration of future damages is limited to unearned

17   wages and does not extend to other claimed relief, including attorneys’ fees. Motion, p. 11,

18   Dkt. 13 (referring to Chavez and asserting that “the court held that damages for future lost

19   wages may be included in the amount in controversy . . . .”). The court, however, did not limit

20   its holding to wages; instead, it referred to “all relief” sought by the complaint, including

21   “damages (compensatory, punitive, or otherwise) and the cost of complying with an injunction,

22   as well as attorneys’ fees awarded under fee shifting statutes.” 888 F.3d at 416 (internal

23   quotation marks omitted). As outlined in the Complaint here, Plaintiff seeks unpaid wages,

24   double damages for the unpaid wages, and attorneys’ fees. Cmplt. ¶¶ 6.1 to 10.5; Prayer for

25   Relief, Dkt. 1. Under the plain language of Chavez, all of the relief sought by Plaintiff in the

26   Complaint must be included in the amount in controversy, regardless of whether it is accrued

27   after the Second Notice.
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 4
     (Case No. 2:18-CV-00681-RAJ )                                               Davis Wright Tremaine LLP
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 1            Moreover, the Ninth Circuit’s reference to plaintiff-Chavez’s unearned wages was

 2   merely an “example,” and did not reflect the court’s intention to limit amount in controversy

 3   analysis to future unearned wages only. See 888 F.3d at 414-15 (“the amount in controversy is

 4   not limited to damages incurred prior to removal – for example, it is not limited to wages a

 5   plaintiff-employee would have earned before removal (as opposed to after removal).”)

 6   (emphasis added). Indeed, according to the Ninth Circuit, it was unnecessary for it to consider

 7   the other relief plaintiff sought, including punitive damages and attorneys’ fees, because her

 8   unearned wages were alone sufficient to satisfy the amount in controversy. Id. at 417 (“Thus,

 9   Chavez’s prayer for past and future lost wages by itself exceeds $75,000, even before factoring

10   in non-economic and punitive damages, attorneys’ fees, or other requested relief.”) (emphasis

11   added). This statement alone demonstrates the Ninth Circuit’s intention that all relief sought –

12   including post-removal attorneys’ fees – should be included in the amount in controversy

13   calculation. Thus, Chavez dictates that all relief sought in a complaint, including attorneys’

14   fees, may be included in the amount in controversy calculation regardless of whether they are

15   incurred after removal.

16            JBS has been able to locate only two cases to interpret whether post-removal attorneys’

17   fees should be included in the amount in controversy calculation following Chavez. Both

18   conclude that Chavez expresses the Ninth Circuit’s intent for all attorneys’ fees to be included

19   in the amount in controversy calculation, regardless of when they are incurred. In Bernstein v.

20   BMW of N. Am., LLC, No. 18-CV-01801-JSC, 2018 WL 2210683, at *2 (N.D. Cal. May 15,

21   2018) the court found the amount in controversy requirement for diversity jurisdiction was

22   satisfied. The court analyzed Chavez in a footnote, stating that Chavez stands for the

23   proposition that “the attorneys’ fees in the context of the amount in controversy requirement

24   should be calculated based on the total possible recovery and not just the fees incurred to date –

25   resolving a previously unresolved question.” Berenstein, at * 2 fn.3 (emphasis in original).

26   Similarly, in Lucas v. Michael Kors (USA), Inc., No. 18-cv-1608-MWF, 2018 WL 2146403

27   (C.D. Cal. May 9, 2018), the court began by noting the “split among district courts, as well as
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 5
     (Case No. 2:18-CV-00681-RAJ )                                              Davis Wright Tremaine LLP
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 1   appellate courts, regarding when to measure attorneys’ fees for purposes of determining the

 2   amount in controversy . . . .” Id. at *10. The court next noted the Ninth Circuit’s decision in

 3   Chavez, and concluded that Chavez’s “broad holding strongly suggests that the Ninth Circuit

 4   would find it appropriate to consider post-removal attorneys’ fees.” Lucas, at *11. Thus, not

 5   only does the plain text of Chavez support inclusion of post-removal attorneys’ fees in the

 6   amount in controversy calculation, but all other courts to interpret Chavez agree with this

 7   approach.

 8            ii.    JBS’ Second Notice is not based on the same grounds as the First Notice.

 9            At the time of JBS’ First Notice, the law in the Ninth Circuit with regard to whether all

10   attorneys’ fees that may be incurred during litigation can properly be considered when

11   determining the amount in controversy was unsettled. Skau v. JBS Carriers, Inc., 2:17-cv-

12   014990JCC (Nov. 30, 2017), pp. 2-3, Dkt. 21 (“The Ninth Circuit has not resolved this issue.”);

13   see also Gonzales v. CarMax Auto Superstores, LLC, 840 F.3d 644, 649 n.2 (9th Cir. 2016);

14   Grieff v. Brigandi Coin Co., No. C14-214 RAJ, 2014 WL 2608209, at *2 (W.D. Wash. June 11,

15   2014) (“The Ninth Circuit has not squarely addressed whether future attorney’s fees should be

16   included in calculating the amount in controversy, and district courts in the Ninth Circuit are

17   split on this issue.”). Chavez resolved this open question in the affirmative. See Bernstein, 2018

18   WL 2210683, at *2 fn.3 (noting that Chavez resolved the “previously unresolved question” of

19   whether post-removal attorneys’ fees may be included in the amount in controversy

20   calculation). JBS’ Second Notice was founded entirely on this intervening change in law. As

21   such, JBS’ Second Notice is not based on the same grounds as the first. See Rea, 742 F.3d at

22   1238 (finding second removal appropriate where remand was based “on grounds that

23   subsequently became incorrect”). Similar to Rea, here, Judge Coughenour’s order remanding

24   this case “subsequently became incorrect” because of the Ninth Circuit’s holding in Chavez.

25   Thus, the Second Notice was an appropriate successive removal, and the Court should deny

26   Plaintiff’s Motion.

27
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 6
     (Case No. 2:18-CV-00681-RAJ )                                              Davis Wright Tremaine LLP
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 1            iii.   JBS’ Second Notice was timely under 28 U.S.C. § 1446(b)(3).

 2            JBS’ Second Notice was timely filed following the Chavez decision. Section 1446(b)(3)

 3   states: “if the case stated by the initial pleading is not removable, a notice of removal may be

 4   filed within 30 days after receipt by the defendant, through service or otherwise, of a copy of an

 5   amended pleading, motion, order or other paper from which it may first be ascertained that the

 6   case is one which is or has become removable.” Because Chavez resolved the issue of whether

 7   all attorneys’ fees that may be accrued during the litigation of an action should be included in

 8   the amount in controversy calculation – as explained above – Chavez constitutes an “order or

 9   other paper from which it may first be ascertained that the case is one which . . . has become

10   removable.” Chavez was published on April 20, 2018. See generally 888 F.3d 413. JBS’

11   Second Notice was filed on May 10, 2018. Notice, Dkt. 1. Accordingly, JBS’ Second Notice

12   was timely filed pursuant to 28 U.S.C. § 1446(b)(3).

13   B.       The Amount in Controversy Exceeds $75,000.

14            i.     Plaintiff has placed at least $53,648.66 in alleged unpaid wages and double
                     damages in controversy.
15

16            Plaintiff seeks to recover unpaid wages for allegedly unpaid overtime, rest periods, off-

17   the-clock work, minimum wage for training and orientation work, and double damages for

18   those alleged unpaid wages. In total, Plaintiff has put $53,648.66 of alleged unpaid wages and

19   double damages in controversy. Notice, Dkt. No. 1, ¶¶ 15-20. Plaintiff does not dispute this

20   calculation.

21            ii.    Plaintiff’s attorneys’ fees have already exceeded $21,351.35.

22            It is well-established that attorneys’ fees allowed by statute are properly included in the

23   amount-in-controversy calculation. Galt G/S v. JSS Scandinavia, 142 F.3d 1150 (9th Cir.

24   1998). Because Plaintiff has put $53,648.66 of alleged unpaid wages and double damages in

25   controversy, he need only accrue $21,351.35 in attorneys’ fees to exceed the amount in

26   controversy requirements for diversity jurisdiction ($75,000.01 - $53,648.66 = $21,351.35). As

27
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 7
     (Case No. 2:18-CV-00681-RAJ )                                               Davis Wright Tremaine LLP
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               Case 2:18-cv-00681-RAJ Document 17 Filed 07/02/18 Page 8 of 16




 1   of JBS’ Second Notice, Plaintiff had accrued $49,707.52 in attorneys’ fees.3 Motion, p. 18, Dkt.

 2   13. Thus, based on Plaintiff’s currently accrued fees, the amount in controversy exceeds

 3   $75,000 ($53,648.66 + $49,707.52 = $103,356.18).

 4             The Court should not divide the currently accrued attorneys’ fees among all putative

 5   class members. Plaintiff’s proposed class has not been certified and, as such, all of the work

 6   done by Plaintiff’s attorneys has, thus far, been for the sole benefit of Plaintiff individually.

 7   Because the work done and fees incurred have been for the sole benefit of Plaintiff, the Court

 8   should not attribute the previously accrued fees to all putative class members. Because

 9   Plaintiff’s currently accrued attorneys’ fees coupled with his potential damages recovery

10   exceeds $75,000, the amount in controversy requirement is met and the Motion should be

11   denied.

12             iii.   Even if Plaintiff’s attorneys’ fees are allocated to each putative class member,
                      the amount in controversy exceeds $75,000.
13

14             Even if the Court allocates attorneys’ fees to all putative class members,4 the amount in

15   controversy still exceeds $75,000. There are no more than 20 putative class members involved

16   in this case.5 Declaration of Toby Marshall, ¶ 4, Dkt. 14. If Plaintiff’s previously incurred

17   attorneys’ fees is allocated to all 20 putative class members, then Plaintiff has currently placed

18   $56,134.04 in controversy ($49,707.52 in attorneys’ fees to date divided by 20 putative class

19   members = $2,485.38; $53,648.66 in alleged unpaid wages and double damages + $2,485.38 =

20   $56,134.04). Plaintiff need only occur $18,865.97 in his share of additional attorneys’ fees for

21   the amount in controversy to be satisfied ($75,000.01 - $56,134.04 = $18,865.97 in Plaintiff’s

22   3
       Notably, Plaintiff’s $49,707.52 in attorneys’ fees neither includes fees incurred as part of his
     attorneys’ preparation of the Motion, nor fees incurred while preparing the Reply.
23   4
       Plaintiff defines the proposed class as “All current and former employees of JBS Carriers, Inc.
     who worked as drivers for the company while residing in the State of Washington at any time
24   between September 5, 2014 and the date of the final disposition of this action.” Complt. ¶ 4.1.
25   5
       Two of the drivers disclosed through discovery left JBS before ever driving a route and,
     therefore, are not members of Plaintiff’s proposed class. Thus, the actual size of the putative
26   class is only 18 people. It is unnecessary for the Court to analyze driving records and determine
     the class size at this time, however, because even assuming the class consists of 20 drivers, the
27   amount in controversy requirement is still satisfied.
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 8
     (Case No. 2:18-CV-00681-RAJ )                                               Davis Wright Tremaine LLP
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 1   pro rata share of attorney’s fees). Thus, for Plaintiff’s pro rata share of attorney’s fees to put the

 2   amount in controversy over $75,000, Plaintiff’s attorneys will have to incur a total of

 3   $377,319.40 in additional fees before this case is resolved ($75,000.01 - $56,134.04 =

 4   $18,865.97 in Plaintiff’s pro rata share of attorney’s fees; $18,865.97 x 20 putative class

 5   members = $377,319.40 in additional fees). Based on the evidence available, the Court can

 6   reasonably estimate Plaintiff will incur $377,319.40 in additional fees before this case is

 7   resolved.

 8            Courts consider awards in analogous cases, the various tasks to be completed by both

 9   sides, as well as the hourly rates of the attorneys involved to determine a reasonable estimate of

10   fees for the amount in controversy. See Roe v. Teletech Customer Care Mgmt. (Colo.), LLC,

11   Case No. C07–5149-RBL, 2007 WL 1655172, *4 (W.D. Wash. June 6, 2007) (“Accordingly, it

12   is the Court’s view that a reasonable, informed estimation of fees, based on the various tasks to

13   be accomplished by both sides, and the hourly rates of the attorneys who will conduct those

14   tasks (including future attorney’s fees), properly comprise the evidence that can and should be

15   considered in evaluating the amount in controversy for jurisdictional purposes.”) (internal

16   citations and emphasis omitted); Brady v. Mercedes-Benz USA, Inc., 243 F. Supp. 2d 1004,

17   1011 (N.D. Cal. 2002) (relying on declarations that provided attorney’s hourly rate and

18   provided information regarding fee awards in similar cases to determine the amount of

19   attorneys’ fees for amount-in-controversy purposes); see also Kroske v. U.S. Bank Corp., 432

20   F.3d 976, 980 (9th Cir. 2005) (“In determining the amount in controversy, the district court

21   properly considered . . . emotional distress damage awards in similar age discrimination cases

22   in Washington.”); Jackson v. Frank, 2012 WL 6096905, *2 (N.D. Cal. Dec. 7, 2012) (in

23   evaluating amount in controversy, defendants may introduce evidence of jury verdicts in cases

24   involving analogous facts to establish punitive damage amount). Plaintiff’s attorneys’ fees

25   awards in other actions support the conclusion that Plaintiff will incur greater than $377,319.40

26   in attorneys’ fees in this matter.

27
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 9
     (Case No. 2:18-CV-00681-RAJ )                                                Davis Wright Tremaine LLP
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             Case 2:18-cv-00681-RAJ Document 17 Filed 07/02/18 Page 10 of 16




 1            In Helde v. Knight Transp., Inc., No. 2:12-cv-00904-RSL (W.D. Wash.) – a case

 2   Plaintiff referenced in his first Motion to Remand – the plaintiff brought nearly identical claims

 3   as those involved here. See Skau v. JBS Carriers, Inc., 2:17-cv-014990JCC (Nov. 30, 2017),

 4   p.12, Dkt. 13 (citing Declaration of Toby Marshall, ¶ 3 and noting that Plaintiff’s attorneys’

 5   “recently concluded more than five years of litigation against a separate trucking company in a

 6   case involving claims like those brought here: Helde v. Knight Transp., Inc., No. 2:12-cv-

 7   00904-RSL (W.D. Wash.)).” Helde involved a class of 233 drivers. Id. at ¶ 4. Here, Plaintiff’s

 8   counsel will have to perform the same tasks that had to be performed in Helde including, class

 9   certification discovery, class certification briefing, merits discovery, summary judgment

10   briefing, and trial preparation. While certain tasks related to class management may be more

11   efficiently performed due to the smaller class size, the number of tasks do not change based on

12   the size of the class and, therefore, the plaintiff’s attorney’s fees award in Helde is instructive

13   here.

14            Plaintiff’s attorneys’ were awarded $1,166,244.96 in fees at the conclusion of that case.

15   Skau v. JBS Carriers, Inc., 2:17-cv-014990-JCC (Nov. 30, 2017), ¶ 3, Dkt. 14. As noted above,

16   there are no more than 20 putative class members in this case. Thus, if a similar award is given

17   for attorneys’ fees here, the divided share for purposes of the amount in controversy would be

18   $58,312.25 per class member, which easily takes the amount in controversy over the

19   jurisdictional minimum ($1,166,244.96 divided by 20 putative class members = $58,312.25

20   per class member). Even if the total award is $388,748.32 (one-third of the amount in Helde),

21   Plaintiff’s share of attorney’s fees is still more than enough to meet the jurisdictional threshold.

22            A reasonable estimate of Plaintiff’s attorneys’ anticipated hours worked based on the

23   various tasks to be accomplished and the hourly rates of Plaintiff’s attorneys’ further

24   establishes that the amount in controversy in this case exceeds $75,000, even if the Court only

25   considers Plaintiff’s pro rata share. Plaintiff’s attorneys have an effective hourly rate of $252.

26   Declaration of Toby Marshall, ¶ 3, Dkt. 14; Declaration of Gregory Wolk, ¶ 2, Dkt. 15. To

27   determine a reasonable number of hours Plaintiff’s attorneys’ may spend on various tasks, it is
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 10
     (Case No. 2:18-CV-00681-RAJ )                                                Davis Wright Tremaine LLP
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             Case 2:18-cv-00681-RAJ Document 17 Filed 07/02/18 Page 11 of 16




 1   again helpful to consider Plaintiff’s attorneys’ fee award in Helde. In that case, Plaintiff’s

 2   attorneys affirmed that they spent the following number of hours on the following tasks:6

 3       •    Certification Discovery Matters: 874 hours

 4       •    Certification Briefing and Argument: 491 hours

 5       •    Merits Discovery Matters: 438 hours

 6       •    Summary Judgment Briefing and Argument: 279 hours

 7       •    Trial Preparation and Attendance: 370 hours

 8       •    Settlement Negotiations: 373 hours

 9       •    Total hours: 2,825 hours

10   See Declaration of Toby Marshall in Support of Plaintiffs’ Motion for Attorneys’ Fees with

11   Timesheet in Helde, attached as Exhibit A. Even if these hours are reduced by 45% to reflect

12   the smaller putative class size involved in this case, the Court can reasonably estimate Plaintiff

13   will seek to recover 1,553.75 hours of attorney time here. Based on this estimate of hours, the

14   Court can estimate that Plaintiff will seek to recover $391,545 in additional attorney’s fees in

15   this matter ($252/hr x 1,553.75 hours). Plaintiff’s pro rata share of this estimate is $19,577.25

16   ($391,545 in anticipated fees divided by 20 putative class members). Such pro rata share takes

17   the amount in controversy over the $75,000 requirement ($53,648.66 in purported damages +

18   $2,485.38 in Plaintiff’s pro rata share of pre-removal fees ($49,707.52 divided by 20 putative

19   class members) + $19,577.25 in Plaintiff’s pro rata share of post-removal attorneys’ fees =

20   $75,711.29). Thus, the amount in controversy exceeds the jurisdictional requirements and the

21   Court should deny Plaintiff’s Motion.

22            Plaintiff’s attorney’s fees in other actions also support the conclusion that Plaintiff will

23   incur greater than $377,319.40 in additional attorneys’ fees through the litigation of this matter.

24   See e.g., Chesbro v. Best Buy Stores, L.P., No. 2:10-CV-00774-RAJ, 2014 WL 11906648, at *2

25   (W.D. Wash. Sept. 19, 2014) ($1,137,500 award); Wilbur v. City of Mount Vernon, No. C11-

26
     6
       JBS omitted the hours spent on removal proceedings in Helde so that only an estimate of post-
27   removal attorneys’ fees remains.
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 11
     (Case No. 2:18-CV-00681-RAJ )                                                Davis Wright Tremaine LLP
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             Case 2:18-cv-00681-RAJ Document 17 Filed 07/02/18 Page 12 of 16




 1   1100RSL, 2014 WL 11961980 (W.D. Wash. Apr. 15, 2014) (Plaintiff’s counsel received an

 2   award for attorney’s fees of $2,500,000); Bronzich, et al. v. Persels & Associates, LLC, C10-

 3   0364 (E.D. Wash.) ($650,000 award); Milligan v. Toyota Motor Sales, U.S.A., Inc., No. C 09-

 4   05418 RS, 2012 WL 10277179 (N.D. Cal. Jan. 6, 2012) ($806,000 award); Estate of Brown v.

 5   Consumer Law Assocs., LLC, No. 11-CV-0194-TOR, 2013 WL 2285368, at *6 (E.D. Wash.

 6   May 23, 2013) (awarding $373,668.05 in attorney’s fees and costs and noting “[b]ased upon

 7   the fees and costs reportedly incurred by Plaintiffs to date, any [future] assessment could easily

 8   exceed $1 million.”); Barnett v. Wal-Mart Stores, Inc., 2009 WL 2194864 (Wash. Super. Ct.

 9   July 20, 2009) ($10,500,000 award, including costs). In light of Plaintiff’s attorneys’ fee

10   awards in other cases,7 it is reasonable to estimate that his attorneys’ fees here will place the

11   amount in controversy with respect to Plaintiff over the required $75,000 threshold.

12            iv.    The parties’ intent to engage in settlement discussions does not undermine the
                     conclusion that the amount in controversy requirements are satisfied here.
13

14            Plaintiff argues that the amount in controversy threshold will not be met because the

15   parties have expressed a willingness to engage in settlement negotiations. Motion, p. 19, Dkt.

16   13. Plaintiff’s argument fails. Though the parties have agreed to engage in settlement

17   discussions, Plaintiff has yet to make a settlement demand and no substantive settlement

18   discussions have occurred. Moreover, simply because the parties intend to engage in settlement

19   discussions does not mean the case will settle, either during the early stages of litigation or after

20   significant discovery and work has been done. It is senseless to discount the amount in

21   controversy simply because the parties intend to engage in settlement discussions.

22

23   7
       Plaintiff’s attorneys’ fees exceeding the amount in controversy requirements is not contingent
     upon Plaintiff obtaining class certification. Many single-Plaintiff cases also involve attorneys’
24   fees that would put the amount in controversy over the jurisdictional requirement. See e.g.,
     MacLeod v. Emerson Elec. Co., No. ED CV 11-0159 FMO (PLAx), 2015 U.S. Dist. LEXIS
25   119399, at *59 (C.D. Cal. Sep. 8, 2015) ($304,273.75 award); Quevedo v. New Albertsons, Inc,
     No. SACV131160JLSJPRX, 2015 WL 10939716, at *7 (C.D. Cal. May 27, 2015) ($358,676.40
26   award); Sillah v. Command Int'l Sec. Servs., No. 14-CV-01960-LHK, 2016 WL 692830, at *1
     (N.D. Cal. Feb. 22, 2016) ($62,579.30 award).
27
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 12
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 1            The fact that the amount recovered may ultimately be reduced if the parties reach an

 2   early settlement is true in every case, including when determining the amount in controversy

 3   for unearned wages or other damages. This is the exact reason that in measuring the amount in

 4   controversy, a court must assume that the allegations of the complaint are true and that a judge

 5   or jury will return a verdict for plaintiff on all claims. Chavez, 888 F.3d at 414–15 (“the amount

 6   in controversy is determined by the complaint operative at the time of removal and

 7   encompasses all relief a court may grant on that complaint if the plaintiff is victorious.”)

 8   (emphasis added); Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d

 9   993, 1001 (C.D. Cal. 2002); see also Mueller v. RadioShack Corp., No. 11-CV-0653 (PJS/JJG),

10   2011 WL 6826421, at *8 (D. Minn. Dec. 28, 2011) (“many types of future damages might be

11   avoidable — in whole or in part — but courts nevertheless take them into account in

12   determining the amount in controversy.”). The ultimate inquiry is what amount is put “in

13   controversy” by Plaintiff’s complaint, not what Defendant will actually owe. Rippee v. Boston

14   Market Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005); see also Scherer v. Equitable Life

15   Assurance Society of the United States, 347 F.3d 394, 399 (2d Cir. 2003) (recognizing that the

16   ultimate or provable amount of damages is not what is considered when determining the

17   amount in controversy; rather, it is the amount put in controversy by the plaintiff’s complaint).

18   Ultimately, if Plaintiff is victorious, it is reasonable to conclude he will seek greater than

19   $377,319.40 in additional attorneys’ fees, which puts the amount in controversy over $75,000,

20   even when proportionally applied to all putative class members.8 The Court has jurisdiction

21   over this matter, and should deny Plaintiff’s Motion.

22   C.       Plaintiff’s Request for Sanctions is Baseless.

23            Plaintiff requests that the Court award him costs and attorney’s fees as a sanction for

24   having to file the Motion. In support for his request, Plaintiff argues that “JBS lacked an

25
     8
       During the parties’ conferral telephone conference, Plaintiff’s counsel affirmed their intent to
26   seek attorneys’ fees if they prevail in this matter. Plaintiff’s counsel also confirmed that their
     attorneys’ fees would exceed $400,000 if this matter went to trial.
27
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 13
     (Case No. 2:18-CV-00681-RAJ )                                              Davis Wright Tremaine LLP
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             Case 2:18-cv-00681-RAJ Document 17 Filed 07/02/18 Page 14 of 16




 1   objectively reasonable basis for removing this case to federal court and caused Mr. Skau to

 2   incur unnecessary attorney’s fees and litigation expenses.” Motion, p. 20, Dkt. 13. Plaintiff’s

 3   request for sanctions is unwarranted.

 4            Plaintiff neither disputes JBS’ calculations of his potential damages recovery nor

 5   attacks JBS’ analysis of the claims in general. Instead, Plaintiff claims “JBS has ignored Judge

 6   Coughenour’s order holding that future attorneys’ fees may not be considered part of the

 7   amount in controversy and has misrepresented the Ninth Circuit’s holding in Chavez in an

 8   attempt to relitigate the issue.” Motion, p. 20, Dkt 13. JBS has done neither.

 9            Ninth Circuit law is clear – and Plaintiff does not dispute – that an intervening change

10   in case law constitutes a relevant change of circumstances justifying a successive petition for

11   removal. Motion, p. 10, Dkt. 13. As described above, Chavez was an intervening change in law

12   regarding whether post-removal attorneys’ fees should be considered when determining the

13   amount in controversy. See Discussion A(ii), supra. Thus, JBS’ Second Notice was

14   appropriate.

15            Second, Plaintiff’s claim that JBS “misrepresented the Ninth Circuit’s holding in

16   Chavez” is manifestly untrue. By its own terms, Chavez held “that the amount in controversy is

17   not limited to damages incurred prior to notice of removal,” but that it “encompasses all relief a

18   court may grant on [the] complaint if the plaintiff is victorious.” 888 F.3d at 414-15 (emphasis

19   added). “All relief [the] court may grant on [the] complaint if plaintiff is victorious” here

20   includes attorneys’ fees incurred by Plaintiff’s counsel after the date in which JBS filed the

21   Second Notice. Moreover, Plaintiff’s assertion ignores the fact that both cases to interpret

22   Chavez agree with JBS’ interpretation. See Bernstein, 2018 WL 2210683, at *2 fn.3; Lucas,

23   2018 WL 2146403, at *11, supra.

24            Plaintiff’s request for sanctions should also be denied because it does not comply with

25   the Court’s Standing Order for Civil Cases (“Order”). See Dkt. 12. That Order admonishes that

26   “[a]ll motions seeking attorney’s fees must be accompanied by an appropriate declaration that

27   attaches all relevant timesheets and costs.” Id. Plaintiff’s Motion does not include a declaration
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 14
     (Case No. 2:18-CV-00681-RAJ )                                              Davis Wright Tremaine LLP
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 1   with the relevant timesheets. Thus, not only is Plaintiff’s request for sanctions substantively

 2   baseless, but he failed to comply with the Court’s Order relating to these matters. The Court

 3   should deny Plaintiff’s request for sanctions.

 4                                             CONCLUSION

 5                For the forgoing reasons, Defendant respectfully asks the Court to deny Plaintiff’s

 6   Motion and to deny Plaintiff’s request for attorneys’ fees and costs.

 7            DATED this 2nd day of July, 2018.

 8                                                    Respectfully submitted,

 9
                                                      By: s/Jonathon M. Watson___________
10                                                        Jonathon Watson, admitted pro hac vice
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15
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16
                                                          s/Michael J. Killeen___________
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20
                                                      Co-counsel for Defendant JBS Carriers, Inc.
21

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     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 15
     (Case No. 2:18-CV-00681-RAJ )                                                Davis Wright Tremaine LLP
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             Case 2:18-cv-00681-RAJ Document 17 Filed 07/02/18 Page 16 of 16




 1                                    CERTIFICATE OF SERVICE

 2            I hereby certify that on July 2, 2018, I electronically filed the foregoing Defendant JBS

 3   Carriers, Inc.’s Opposition to Plaintiff’s Motion to Remand with the Clerk of the Court

 4   using the CM/ECF system which will send notification of such filing to the following:

 5     TERRELL MARSHALL LAW GROUP LLC                     ☒   Electronic Filing/Eservice
       Toby J. Marshall, WSBA # 32726                     ☐   U.S. Mail, postage prepaid
 6     Email: tmarshall@terrellmarshall.com               ☐   Federal Express
       Maria Hoisington-Bingham, WSBA # 51493             ☐   Facsimile
 7     Email: mhoisington@terrellmarshall.com             ☐   Via Legal Messenger
       936 North 34th Street, Suite 300                   ☐   Email
 8     Seattle, Washington 98103-8869
       Telephone: 206-816-6603
 9     Facsimile: 206-319-5450
10     REKHI & WOLK, P.S.                                 ☒   Electronic Filing/Eservice
       Hardeep S. Rekhi, WSBA #34579                      ☐   U.S. Mail, postage prepaid
11     Email: Hardeep@rekhiwolk.com                       ☐   Federal Express
       Gregory A. Wolk, WSBA #28946                       ☐   Facsimile
12     Email: greg@rekhiwolk.com                          ☐   Via Legal Messenger
       529 Warren Avenue North, Suite 201                 ☐   Email
13     Seattle, WA 98109
       Telephone: (206) 388-5887
14     Facsimile: (206) 577-3924
15

16   And a Courtesy Copy has been transmitted to the following:

17     The Honorable Richard A. Jones                     ☐   Electronic Filing/Eservice
       United States Courthouse for the District of       ☐   U.S. Mail, postage prepaid
18     Washington, Western Division                       ☒   Federal Express
       700 Stewart Street, Suite 13128                    ☐   Facsimile
19     Seattle, WA 98101-9906                             ☐   Via Legal Messenger
                                                          ☐   Email
20

21

22                                                 s/Lynn Zola Howell
                                                   SHERMAN & HOWARD L.L.C.
23                                                 633 17th Street, Suite 3000
                                                   Denver, CO 80202
24                                                 Telephone: (303) 299-8435
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27
     OPPOSITION TO PLAINTIFF’S MOTION TO REMAND – 16
     (Case No. 2:18-CV-00681-RAJ )                                              Davis Wright Tremaine LLP
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